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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                  Crim. Action No.: 1:20cr13
                                                         (Judge Kleeh)

 CLAY WESTBROOK,

                   Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 45],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On   December     10,   2020,   the   Defendant,    Clay    Westbrook

 (“Westbrook”), appeared before United States Magistrate Judge

 Michael J. Aloi and moved for permission to enter a plea of GUILTY

 to Count Four of the Indictment, charging him with Possession with

 Intent to Distribute Methamphetamine, in violation of Title 21,

 United States Code, Sections 841(a)(1) and 841(b)(1)(A)(C). This

 Court referred Defendant’s plea of guilty to the magistrate judge

 for the purpose of administering the allocution, pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether    the   plea   was   knowingly   and   voluntarily   entered,   and

 recommending to this Court whether the plea should be accepted.

 Westbrook stated that he understood that the magistrate judge is

 not a United States District Judge, and Westbrook consented to

 pleading before the magistrate judge.
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       Based upon Defendant Westbrook’s statements during the plea

 hearing     and   the   Government’s        proffer    establishing        that   an

 independent factual basis for the plea existed, the magistrate

 judge found that Defendant Westbrook was competent to enter a plea,

 that the plea was freely and voluntarily given, that he was aware

 of the nature of the charges against him and the consequences of

 his plea, and that a factual basis existed for the tendered plea.

 The magistrate judge issued a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 45] finding a

 factual basis for the plea and recommending that this Court accept

 Defendant    Westbrook’s    plea   of       guilty    to    Count   Four    of    the

 Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.        He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.                   Neither the Defendant

 nor the Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 45], provisionally ACCEPTS Defendant Westbrook’s guilty




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 plea, and ADJUDGES him GUILTY of the crime charged in Count Four

 of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.    The Probation Officer shall undertake a presentence

 investigation       of   Westbrook,       and   prepare     a    presentence

 investigation report for the Court;

       2.    The    Government   and   Defendant      Westbrook   shall     each

 provide    their   narrative    descriptions    of    the   offense   to   the

 Probation Officer by January 21, 2020;

       3.    The presentence investigation report shall be disclosed

 to Defendant Westbrook, counsel for Defendant, and the Government

 on or before March 24, 2021; however, the Probation Officer shall

 not disclose any sentencing recommendations made pursuant to Fed.

 R. Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 investigation report on or before April 7, 2021;

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       5.    The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before April

 21, 2021; and

       6.    Counsel may file any written sentencing memorandum or

 statements    and      motions    for   departure   from   the   Sentencing

 Guidelines, including the factual basis for the same, on or before

 April 28, 2021.

       The magistrate judge remanded Defendant to the custody of the

 United States Marshals Service.

       The Court will conduct the Sentencing Hearing for Defendant

 on May 27, 2021, at 11:00 A.M., at the Clarksburg, West Virginia

 point of holding court.          If counsel anticipates having multiple

 witnesses    or   an   otherwise    lengthy   sentencing   hearing,    please

 notify the Judge’s chamber staff so that an adequate amount of

 time can be scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: January 11, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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